         Case 4:23-cv-00088-CDL Document 33 Filed 01/08/24 Page 1 of 5



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

JAMES EDWARD BROGDON, JR., et          *
al.,
                                       *
      Plaintiffs,
                                       *
vs.                                              CASE NO. 4:23-CV-88 (CDL)
                                       *
FORD MOTOR COMPANY,
                                       *
      Defendant.
                                       *

                                  O R D E R

      The Court entered a protective order that permits Ford Motor

Company    to   designate    as   confidential    documents   that   contain

commercially sensitive and/or proprietary information which has

been treated as confidential.        The protective order provides that

if the receiving party disagrees with the “Protected” designation

of any document and if the parties cannot resolve the dispute, the

designating party must ask the Court for a determination on the

issue.      The parties cannot agree on the designation of nine

exhibits, so Ford filed a motion to preserve the confidential

designations.      As discussed below, the motion (ECF No. 26) is

granted as to Exhibit 575 but otherwise denied.

                                  DISCUSSION

      Plaintiffs challenge the confidentiality designation of nine

exhibits, which the parties refer to by their exhibit numbers from

the Gwinnett County action, Hill v. Ford: Plaintiffs’ Exhibit 114,
       Case 4:23-cv-00088-CDL Document 33 Filed 01/08/24 Page 2 of 5



Plaintiffs’ Exhibit 133, Plaintiffs’ Exhibit 133A, Plaintiffs’

Exhibit 135, Plaintiffs’ Exhibit 138, Plaintiffs’ Exhibit 154,

Plaintiffs’ Exhibit 236, Plaintiffs’ Exhibit 643, and Plaintiffs’

Exhibit 575. These documents include Ford’s research into proposed

changes to a safety standard on roof strength, as well as Ford’s

detailed design specifications for specific products.         The present

question for the Court is whether good cause exists for allowing

Ford to designate the exhibits as confidential.        Good cause exists

if   the   exhibits   contain   commercially    sensitive,    proprietary

information that has been kept confidential.              Ford presented

evidence that the documents do contain commercially sensitive,

proprietary information that has generally been kept confidential.

Plaintiffs, though, argue that the documents have been publicly

disclosed because they were admitted as evidence in the Hill

trials, so there is no cause to protect them in this case.1

      It is undisputed that eight of the exhibits (all but Exhibit

575) were admitted into evidence at the Hill trials.2         Exhibit 575

was not.   Based on the present record, there is no indication that

Ford has waived any confidentiality protection to Exhibit 575.



1 Plaintiffs also argue that because some of the documents are nearly
twenty years old, they are no longer entitled to protection.      Ford,
though, presented evidence that although the documents are old, they
reveal information about Ford’s confidential processes, which Ford
continues to use. E.g., Krishnaswami Aff. ¶ 9, ECF No. 26-7. Based on
the present record, the Court cannot conclude that the documents are no
longer entitled to protection simply because they are old.
2 The first Hill trial ended in a mistrial.




                                    2
         Case 4:23-cv-00088-CDL Document 33 Filed 01/08/24 Page 3 of 5



Plaintiffs pointed to no evidence that Exhibit 575 was admitted

into evidence at either Hill trial or that it was the subject of

any testimony during either                 Hill    trial.        Plaintiffs did not

establish that Exhibit 575 was publicly disclosed.                         Accordingly,

Ford’s    motion    to    preserve     the       confidentiality      designation      of

Exhibit      575   is   granted.       Nothing       in    this     ruling    should   be

interpreted to mean that the Court will automatically grant a

motion to restrict Exhibit 575 if it is relied on in support of or

opposition to a motion or during a hearing or trial.

       Plaintiffs argue that because the rest of the exhibits were

admitted      during     one    of    the    Hill     trials,       Ford     waived    any

confidentiality claim as to those exhibits.                       There is no dispute

that Exhibits 114, 133, 133A, 135, 138, 154, 236, and 643 (“Hill

trial exhibits”) were admitted into evidence during one of the

Hill     trials.         Ford    argues      that     it     has     not     waived    any

confidentiality         protection      for        those   exhibits        because     the

protective order in Hill provided that confidential exhibits would

still be treated as confidential, and the Hill court ordered that

all exhibits to the trial transcript be filed under seal.                         Def.’s

Mot. for Confidential Designation Ex. E, Stipulated Sharing and

Non-Sharing Protective Order ¶ 12 (State Court of Gwinnett Cnty.

Mar.   17,    2020),     ECF    No.   26-5;       Def.’s     Mot.   for    Confidential




                                             3
        Case 4:23-cv-00088-CDL Document 33 Filed 01/08/24 Page 4 of 5



Designation Ex. B, Order to File Document Under Seal (State Court

of Gwinnett Cnty. Dec. 5, 2022), ECF No. 26-2.3

       Ford acknowledges that excerpts of Hill trial exhibits were

shown on a screen in the courtroom and that any members of the

public who were in the courtroom or watching on Courtroom View

Network’s broadcast of the trial could see those excerpts.               Ford

does not dispute that testimony was elicited about the Hill trial

exhibits in open court so that any members of the public in the

courtroom or watching the CVN broadcast could observe it.                Ford

nonetheless argues, without citing any authority, that the Hill

trial exhibits remain confidential in their entirety even though

parts of them were shown and testified about in open court.               So,

although Ford cannot seriously dispute that an exhibit which has

been    publicly     disclosed   in    open   court    does    not      retain

confidentiality, Ford’s argument is that the excerpts shown at the

Hill trials and the trial testimony about the exhibits did not

reveal enough detail to the public (whether attending the trial in

person or via CVN) to constitute a waiver of confidentiality for

the Hill trial exhibits.

       The   Court   declines    to   grant   wholesale    confidentiality

protection for exhibits that were at least partially disclosed in



3 Plaintiffs filed a motion to modify the protective order, and the Hill
court denied it. Def.’s Mot. for Confidential Designation Ex. C, Am.
Order Denying Pls.’ Mot. to Modify Protective Order (State Court of
Gwinnett Cnty. Sept. 5, 2023), ECF No. 26-3.


                                      4
         Case 4:23-cv-00088-CDL Document 33 Filed 01/08/24 Page 5 of 5



open court.      Even if Ford had argued that only those portions of

the exhibits that were actually shown or discussed in open court

should    lose   their   confidentiality      protection,      Ford    presented

nothing from which the Court can determine what those portions

are—no copies of the exhibits, no explanation of what excerpts

were shown in open court, no transcripts of trial testimony that

would allow the Court to determine what portions of the exhibits

were   publicly    disclosed   in    open   court.     Thus,    Ford    did   not

establish which, if any, portions of the Hill trial exhibits have

been shielded from public disclosure such that Ford should be

entitled    to    maintain   the    confidential     designations      of   those

exhibits in this action.        Accordingly, Ford’s motion to preserve

the confidential designations is denied as to Exhibits 114, 133,

133A, 135, 138, 154, 236, and 643.

                                   CONCLUSION

       For the reasons set forth above, Ford’s motion to preserve

confidential designations (ECF No. 26) is granted as to Exhibit

575 but otherwise denied.

       IT IS SO ORDERED, this 8th day of January, 2024.

                                           s/Clay D. Land
                                           CLAY D. LAND
                                           U.S. DISTRICT COURT JUDGE
                                           MIDDLE DISTRICT OF GEORGIA




                                       5
